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                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

 INTERDIGITAL TECHNOLOGY                 )
 CORPORATION, IPR LICENSING, INC.,       )
 INTERDIGITAL COMMUNICATIONS,            )
 INC., INTERDIGITAL HOLDINGS, INC.,      )
 and INTERDIGITAL, INC.,                 )
                                         )
                          Plaintiffs,    )
                                         )
 v.                                      ) C.A. No. 19-1590-JDW
                                         ) CONSOLIDATED
 LENOVO HOLDING COMPANY, INC.,           )
 LENOVO (UNITED STATES) INC. and         )
 MOTOROLA MOBILITY LLC,                  )
                                         )
                        Defendants.      )


 NON-PARTY QUALCOMM INC.’S UNOPPOSED MOTION TO INTERVENE
               FOR THE LIMITED PURPOSE OF
   MOVING TO MODIFY OR RECONSIDER SEALING ORDER (D.I. 268)


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                                         Appearing for limited purpose
Dated: November 4, 2022
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                                       INTRODUCTION

       Pursuant to Federal Rules of Civil Procedure 24, non-party Qualcomm Incorporated

(“Qualcomm”) moves unopposed for an order to allow it to intervene in this action for the limited

purpose of moving to modify or seek reconsideration of portions of this Court’s Order dated

October 24, 2022 (D.I. 268) (the “Order”) granting in part and denying in part a party-filed motion

to seal highly-confidential Qualcomm technical information that was subpoenaed and produced in

this matter under the confidentiality protections of a Supplemental Protective Order (D.I. 82)

(“SPO”) entered by Judge Stark. Among the items ordered sealed were references to Qualcomm’s

highly-confidential source code made in party declarations and exhibits. However, additional

references to Qualcomm’s source code were omitted from the Order upholding the confidentiality

protections. Qualcomm respectfully requests an opportunity to make a supplemental showing that

the Order should be reconsidered and/or modified to include these specific items as part of the

sealing order.

       Qualcomm has a significant interest in maintaining the confidentiality of its source code

and other information which are entitled to protection under the law, a right that was confirmed by

the additional protections provided by the SPO. These protections are subject to a risk of loss if

the confidentiality designations are not maintained by this Court. Intervention is both necessary

and proper to enable Qualcomm, as a non-party, to assert and protect its rights.
       Qualcomm contends that under well-established decisional law, including law from within

this Circuit, Qualcomm should be granted the right to intervene under Rule 24(a), pertaining to

mandatory intervention, and under Rule 24(b), pertaining to permissive intervention.




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                                             ARGUMENT

QUALCOMM SHOULD BE ALLOWED TO INTERVENE TO SEEK MODIFICATION
OR RECONSIDERATION OF THE SEALING ORDER TO PROTECT QUALCOMM’S
   TRADE SECRETS, INCLUDING ITS SOURCE CODE AND OTHER HIGHLY
                    CONFIDENTIAL INFORMATION

I.      Mandatory Intervention Under Rules 24(a) is Warranted

        Intervention must be granted as a matter of right if the requirements of Rule 24(a) are met.

Relevant here, “[a] party that has filed a timely motion has a right to intervene under Rule 24(a) if

it can show three things: (1) a sufficient interest in the litigation; (2) ‘a threat that the interest will

be impaired or affected, as a practical matter, by the disposition of the action’; and (3) that its

interest is not adequately represented by the existing parties to the litigation. Pennsylvania v.

President United States, 888 F.3d 52, 57 (3d Cir. 2018); Fed. R. Civ. P. 24(a)(2). Qualcomm

contends that each of these factors exists in this case.

        A.      Qualcomm has a Significant Interest in Maintaining the Confidentiality of its
                Trade Secrets, Including Its Source Code and Other Highly Confidential
                Information

        The “interest” of the party seeking intervention under Rule 24(a)(2) means simply “a

cognizable legal interest” as opposed to “an interest of a general and indefinite character.”

Pennsylvania, 888 F.3d at 58. Here, Qualcomm’s interest is to maintain the confidentiality of its

source code and similar trade secret information that the parties have received in this litigation

pursuant to the SPO. The right to protect against unwarranted disclosure of trade secrets or other

confidential research, development, or commercial information is a recognized interest that is

specifically protected under Rule 45(c)(3)(B)(i) and Rule 26(c)(7). Mannington Mills, Inc. v.

Armstrong World Indus., 206 F.R.D. 525, 529 (D. Del. 2002). Trade secrets are recognized

property interests protected by the U.S. constitution. Ruckelshaus v. Monsanto Co., 467 U.S. 986,

1003 (1984).

        Thus, the right to protect trade secrets and other confidential information has repeatedly

been held to be sufficiently “significant” to support mandatory intervention. Formulabs, Inc. v.

Hartley Pen Co., 275 F.2d 52, 55 (9th Cir. 1960); In re Sealed Case 00-5116, 237 F.3d 657, 663-



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664 (U.S. App. D.C. 2001) (intervenors “have a legally cognizable interest in maintaining the

confidentiality of the documents the FEC seeks to disclose in the public record”); Johnson v.

Hankook Tire Mfg., 2013 U.S. Dist. LEXIS 24873, at *8 (N.D. Miss. Feb. 22, 2013) (“it is clear

that trade secret information is a sufficient interest to justify intervention in an action”); J.D. Fields

& Co. v. Nucor-Yamato Steel Co., 2015 U.S. Dist. LEXIS 194916, at *9 (E.D. Ark. June 15, 2015)

(same); Shire Dev. LLC v. Mylan Pharms., Inc., 2013 U.S. Dist. LEXIS 181134, at *6 (M.D. Fla.

Dec. 30, 2013) (“nonparties clearly have an interest in protecting the disclosure of their

confidential, proprietary business information. Accordingly, such an interest is sufficient to justify

intervention under Rule 24(a)”); Northrop Grumman Info. Tech., Inc. v. United States, 74 Fed. Cl.

407, 414 (2006) (“Lockheed's trade secrets and proprietary information are the very type of interest

the protection of which justifies intervention under Rule 24(a)”).

        Courts in this Circuit, too, have found that a non-party’s “interest in confidentiality is

sufficient to support limited intervention under Rule 24(a).” Constand v. Castor, 2016 U.S. Dist.

LEXIS 136742, at *9 (E.D. Pa. Oct. 3, 2016) (allowing intervention of non-party to protect

confidentiality of settlement agreement).

        B.      Disclosure Will Impair Qualcomm’s Trade Secret Rights

        To meet the second requirement, “an applicant must demonstrate that its legal interests

may be affected or impaired as a practical matter by the disposition of the action.” Pennsylvania,

888 F.3d at 59.      Qualcomm’s interest in preserving the confidentiality of its confidential

information and trade secrets clearly meets this requirement. See First Supplemental Declaration

of Brett Bachtell in support of Non-Party Qualcomm Inc.’s Unopposed Motion to Modify or

Reconsider Sealing Order (D.I. 268) (“1st Supp. Bachtell Decl.”). Confidential information is, by

definition, confidential. “[T]he most important characteristic of a trade secret is that it is in fact

secret.” NOVA Chems., Inc. v. Sekisui Plastics Co., 579 F.3d 319, 327 (3d Cir. 2009). Thus, trade

secrets need not be disclosed in legal filings “for the simple reason that such a requirement would

result in public disclosure of the purported trade secrets.” Orthovita, Inc. v. Erbe, 2008 U.S. Dist.

LEXIS 11088, at *27 (E.D. Pa. Feb. 14, 2008); In re Guidant Corp. Implantable Defibrillators



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Prods. Liab. Litig., 245 F.R.D. 632, 637 (“For the documents that contain trade secrets and other

proprietary information, the Court finds that there is no reasonable alternative to sealing most of

these documents. Indeed, trade secrets’ ‘only value consists in their being kept private.’ … “If

they are disclosed or revealed, they are destroyed.’”).

       C.      Qualcomm’s Interests are Not Adequately Represented by the Parties

       “[A]n applicant's interests are not adequately represented if they diverge sufficiently from

the interests of the existing party, such that ‘the existing party cannot devote proper attention to

the applicant’s interests.’” Pennsylvania, 888 F.3d at 60. “This burden is generally ‘treated as

minimal’ and requires the applicant to show “that representation of his interest ‘may be’

inadequate.” Id.

       The parties’ interests in this litigation are clearly different than Qualcomm’s.

Notwithstanding the parties’ efforts to comply with the SPO by moving to seal references to

Qualcomm’s trade secrets and confidential information, which, of course, Qualcomm appreciates,

their interests are to prevail on the merits of the infringement claims. Whether Qualcomm’s trade

secret and confidential information remains confidential is irrelevant to the outcome of this case.

Indeed, the party-litigants suffer no financial or business consequence in the event that Qualcomm

confidentiality protections are not maintained.

       On the other hand, Qualcomm’s only interest in this litigation is to assure that its trade

secrets, including its source code and other highly confidential information, do not get disclosed.

This objective is essential to protection of Qualcomm’s substantial investment in its technology.

In addition, only Qualcomm – and no party – has the information and knowledge to determine

which of its information requires protection.

       Qualcomm has spent significant resources and investment developing and maintaining its

trade secrets, including the source code at issue in this action. See 1st Supp. Bachtell Decl. ¶¶ 3,

5. If this information is disclosed, Qualcomm may lose its trade secret protections and its

competitive edge. See id., ¶¶ 3, 5, 6, 7.




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          In short, the interests of the parties diverge dramatically. The party-litigants’ ability and

motivation to assert Qualcomm’s confidentiality rights are inadequate.

          D.     The Motion is Timely

          Qualcomm’s motion to intervene is limited to challenging the Order to the extent certain

information designated highly-confidential retains that designation and is sealed. The Order was

issued on October 24, 2022. This motion was filed less than two weeks later. The motion is

timely.

          In short, since the requirements for mandatory intervention are present, Qualcomm should

be granted leave to intervene to challenge the Order.

II.       Alternatively, Permissive Intervention Under Rule24(b) is Warranted.

          To the extent the Court does not find that limited intervention is mandatory under Rule

24(a), it should nonetheless conclude that intervention should be permitted under Rule 24(b).

Permissive intervention is allowed where the proposed intervenor “has a claim or defense that

shares with the main action a common question of law or fact.” Fed. R. Civ. P. 24(b)(1)(B).

          In the Third Circuit and beyond, “the procedural device of permissive intervention is

appropriately used to enable a litigant who was not an original party to an action to challenge

protective or confidentiality orders entered in that action. Pansy v. Borough of Stroudsburg, 23

F.3d 772, 778 (3d Cir. 1994); Beckman Indus. v. International Ins. Co., 966 F.2d 470, 473 (9th

Cir. 1992), cert. denied sub nom., International Ins. Co. v. Bridgestone/Firestone, Inc., 506 U.S.

868 (1992) (“there is wide approval of Rule 24(b) intervention as a method for seeking to modify

a protective order. We join these circuits in recognizing that Rule 24(b) permits limited

intervention for the purpose of challenging a protective order.”); United Nuclear Corp. v. Cranford

Insurance Co., 905 F.2d 1424, 1427 (10th Cir. 1990), cert. denied, 111 S. Ct. 799, 112 L. Ed. 2d

860 (1991); Martindell v. International Tel. & Tel. Corp., 594 F.2d 291, 294 (2d Cir. 1979) (“The

proper procedure… was … to seek permissive intervention in the private action pursuant to Rule

24(b), F. R. Civ. P., for the purpose of obtaining vacation or modification of the protective order.”).




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       “Where intervention is sought for the limited purpose of modifying a protective order, the

requirements for permissive intervention are ‘interpreted flexibly,’” and “the intervenor need not

show an independent basis for subject matter jurisdiction, and the timeliness and commonality

requirements are interpreted broadly.” LG Display Co. v. AU Optronics Corp., 2010 U.S. Dist.

LEXIS 137396, at *6 (D. Del. Dec. 29, 2010); In re Linerboard Antitrust Litig., 333 F. Supp. 2d

333, 339 (E.D. Pa. 2004); see United States v. Dentsply Int’l, Inc., 187 F.R.D. 152, 165 (D. Del.

1999) (granting intervention to non-party “for the limited purpose of presenting its views on a

protective order to protect its confidential information”); Management Registry Inc. v. A.W. Cos.,

2019 U.S. Dist. LEXIS 182178, at *10 (D. Minn. Oct. 22, 2019) (granting intervention to “third

party whose interests are affected by the Court’s application of the Protective Order in this case”);

Cal. Parents for the Equalization of Educ. Materials v. Torlakson, 2018 U.S. Dist. LEXIS 139197,

at *13 (N.D. Cal. Aug. 16, 2018) (allowing intervention to litigate challenges relating to

confidential designations).

       The requirements of permissive intervention are also satisfied. As a non-party, Qualcomm

is at the mercy of the party-litigants regarding how and the extent to which its confidential

information is used (and subject to potential disclosure) in this action.         To the extent the

confidentiality of Qualcomm’s confidential information is called into question, Qualcomm is the

only participant that has the requisite knowledge and insight to demonstrate why the information

should not be made public. Granting intervention is the only way that Qualcomm can appear and

assert its own rights. Permissive intervention is therefore proper.

       Finally, Rule 24(b)(3) states that “in exercising its discretion the court shall consider

whether the intervention will unduly delay or prejudice the adjudication of the rights of the original

parties.” Permitting Qualcomm to intervene for the limited purpose of challenging the

confidentiality designations in the Order will not delay the resolution of the proceedings on the

merits. The Court has already ordered sealed dozens of references to Qualcomm’s source code in

the party’s exhibits and declarations. Qualcomm’s intended motion for reconsideration/

modification seeks to add a mere sixteen additional references made to its source code to the list



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of items to remain sealed. There is no evidence or rational basis to conclude that expanding the

list of sealed information will materially delay adjudication of the merits.

       Qualcomm should be granted leave to intervene to challenge the Order.



                                         CONCLUSION

       For the foregoing reasons, Qualcomm’s motion to intervene for the limited purpose of

moving to modify or reconsider portions of the Court’s Order (D.I. 268) that denied sealing of

certain Qualcomm confidential information and trade secrets should be granted. Qualcomm’s

proposed motion to modify or reconsider said sealing order is submitted simultaneously with these

motion papers.
                                                     Respectfully submitted,

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